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                          EXHIBIT 2
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                   IN THE UNITED STATES DISTRICT COURT
              IN AND FOR THE EASTERN DISTRICT OF NEW YORK
LEONID TREYGER,
Plaintiff,                CASE NO.: 23-cv-2099-HG
-against-
GIO WINE & SPIRITS CORP., SUPPLEMENTAL AFFIDAVIT OF
                          MARCIA ESQUENAZI
GBA 526 LLC,
           Defendants.



State of New York                      SUPPLEMENTAL AFFIDAVIT
County of New York (SS)
MARCIA ESQUENAZI hereby duly swears under oath under penalty of perjury to

the truth of the following:

1. I am an architect duly licensed to practice architecture in the State of New York.

2. Since 1988, I’ve been licensed to practice architecture in the state of New York

with license number 019812.

3. Counsel for Mr. Leonid Treyger (the “Plaintiff”) hired me to examine whether a

store entrance ramp at Gio Liquors located at 48-01 108th Street, Corona NY

11368 violates the Americans with Disabilities Act.

4. I reviewed photos of the store ramp. On August 20, 2023 and Oct 20, 2023, I

examined the ramp which is the sole entrance to the store Gio Liquors.

5. The ramp has an intermediate landing platform that is at a height that ranges

from 15 inches to 18 inches above the sidewalk. There is an upper landing at the

store entrance door as well as a cross slope to the door which adds two to five
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inches for a total of approximately 20 inches above the sidewalk. From the

sidewalk to the intermediate landing, the ramp is very steep, dangerous, and has a

slope greater than 1:12; and it is in violation of the requirements set forth by

Americans with Disabilities Act “ADA”.

6. At some points, the store ramp has a slope greater than 20%, which is greater

than 1:5, which violates the ADA requirement that states no slope can be greater

than 1:12. 1991 Standards §4.8.2 Slope and Rise.

7. The ADA governs design and construction of ramps under 2010 Standards

§405.1. These parameters were issued for safety of individuals requiring the use of

mobilized wheelchairs and any other mobility assistance devices. “The least

possible slope shall be used for any ramp. The maximum slope of a ramp in new

construction shall be 1:12.” 1991 Standards §4.8.2 Slope and Rise.

7. “General. Ramps on accessible routes shall comply with 405.” 2010 Standards

§405.1.

8. “Slope. Ramp runs shall have a running slope not steeper than 1:12.”

“EXCEPTION: In existing sites, buildings, and facilities, ramps shall be permitted

to have running slopes steeper than 1:12 complying with Table 405.2 where such

slopes are necessary due to space limitations.” 2010 Standards §405.2.

9. A slope “steeper than 1:12 but not steeper than 1:10” must not have a maximum

rise greater than 6 inches (150 mm). 2010 Standards Table §405.2. Maximum
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Ramp Slope and Rise for Existing Sites, Buildings, and Facilities.

10. A slope “steeper than 1:10 but not steeper than 1:8” must not have a maximum

rise greater than 3 inches (75 mm). 2010 Standards Table §405.2. Maximum Ramp

Slope and Rise for Existing Sites, Buildings, and Facilities.

11. “A slope steeper than 1:8 is prohibited.” 2010 Standards Table §405.2.

Maximum Ramp Slope and Rise for Existing Sites, Buildings, and Facilities.

12. A slope of 1:8 is equivalent to 12.5%.

13. The store’s ramp run, at certain points, has a slope of 27.3%, equivalent to

1:3.66, in violation of 1991 Standards §4.8.2 and 2010 Standards Table §405.2.

14.. The ramp’s rise is over 15 inches.

15. Components of Single Ramp Run and Sample Ramp Dimensions. Components

include a level landing at the top of the ramp, the surface of the ramp and a level

landing at the bottom of the ramp.” 1991 Standards §4.8.2 Components of a Single

Ramp Run and Sample Ramp Dimensions

16. Landings. “Ramps shall have level landings at bottom and top of each ramp

and each ramp run.” 1991 Standards §4.8.4 Landings.

17. “Slope Landings shall comply with 302. Changes in level are not permitted.

EXCEPTION: Slopes not steeper than 1:48 shall be permitted. 2010 Standards

§405.7.1.
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18. The intermediate landing has a slope of 8.4%, equivalent to 1:11, in violation

of 1991 Standards §4.8.2, 1991 Standards §4.8.4, and 2010 Standards §405.7.1.

19. Handrails. “If a ramp run has a rise greater than 6 in (150 mm) or a horizontal

projection greater than 72 in (1830 mm), then it shall have handrails on both

sides.” 1991 Standards §4.8.5 Handrails.

20. Handrails. “(1) Handrails shall be provided along both sides of ramp segments.

The inside handrail on switchback or dogleg ramps shall always be continuous. (2)

If handrails are not continuous, they shall extend at least 12 in (305 mm) beyond

the top and bottom of the ramp segment and shall be parallel with the floor or

ground surface.” 1991 Standards §4.8.5 Handrails.

21. Handrails. “Handrails provided along walking surfaces complying with 403,

required at ramps complying with 405, and required at stairs complying with 504

shall comply with 505.” 2010 Standards §505.1 General.

22. Handrails. “Handrails are required on ramp runs with a rise greater than 6

inches (150 mm) (see 405.8) and on certain stairways (see 504).” 2010 Standards.

Advisory §505.1 General.

23. Handrails. “Handrails shall be provided on both sides of stairs and ramps.”

2010 Standards. §505.2

24. Handrails. Top and Bottom Extension at Ramps. Ramp handrails shall extend

horizontally above the landing for 12 inches (305 mm) minimum beyond the top
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and bottom of ramp runs. Extensions shall return to a wall, guard, or the landing

surface, or shall be continuous to the handrail of an adjacent ramp run. 2010

Standards. §505.10.1.

25. The store ramp to the entrance of the store Gio Liquors has no handrails.

26. The ramp at the store Gio Liquors has a guard rail. It is on the right side as one

rides up the ramp. This does not qualify as a handrail, and it violates 1991

Standards §4.8.5 and 2010 Standards §505.2.

27. There is no handrail extending beyond the bottom of the ramp in violation of

1991 Standards §4.8.5 and 2010 Standards §505.10.1.

28. Steep Ramps. Many wheelchair users have trouble climbing steep ramps.

Risks associated include the wheelchair flipping over backwards, or one’s strained

muscles from exertion involved in climbing steep slopes. Going down steep slopes

also can be hazardous, with some wheelchair users unable to control their speed

and may crash.

29. Level landings are required at the top of ramps that lead to an entrance. If not

level, a wheelchair user may not be able to stop her wheelchair to open the door

and the gradient of the ramp will have the effect of pulling one down the slope.

30. Cross-slopes. Cross slopes are dangerous because of instability, one side of the

wheelchair is higher than the other on a cross-slope. The body weight is pulled
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toward the side of the chair that is lower, and the wheelchair seat is at an angle that

is declining (non-level), increasing the risk of falling.

31. Modifications/Alterations to the store. Starting in year 2001 and finished in

year 2013 the store underwent alterations, including installation of floor to ceiling

security partitions, bullet proof glass and door, counters, shelving units, and A/C

Heating units with Duct work to the Roof. In approx. year 2001, the store

underwent a change of use from laundromat to Cesar’s Liquor store, NYC Dept of

Bldg complaint 4032843 of 5/12/93 regarding complaint of alterations to existing

laundromat. I reviewed Plaintiff’s Response to Document Requests #1, 2, 3, 4,

photos, certified records of NYC Dept of Bldg Block 2004 Lot 99 with 2 buildings

and addresses 48-01 108th St, 108-08 48th Ave and 108-10 48th Ave, Corona, NY

and reviewed records of NYC Dept of HPD. On 7/24/2001 job #401250944 was

filed with NYC Dept of Bldgs for installation of security partitions and 5 ton A/C

Heating Unit with Duct work to Roof. On 7/23/12 application #420596778 and on

3/15/23 application #420596778 were filed to complete job #401250944.

32. To remediate ADA violations, metal handrails may be added to the ramp at a

cost of approximately $1800 and will involve one day of work by a welder.

33. To remediate the upper landing and intermediate landing so that they will have

a gradual slope of less than 8.4%, will require the addition of concrete and to
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   scarify the existing ramp and landings. Construction is expected to be finished

   within two days and be performed by a mason at a cost of approximately $2,000.

   34. The cost to build the Title III ADA compliant proposed ramp plan as depicted

   in my architectural drawings attached hereto, will cost approximately $8900 and

   may be achieved by purchasing a prefabricated metal ramp. It is expected to be

   completed within two days and will be performed by a welder.



   Dated: December 13, 2023




   Marcia Esquenazi Marcia Esquenazi Architect, P.C. (Lie.# 019812)

   Tel: (917) 821-1180




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   Sworn to before me on this ~ day of December, 2023

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   Qualified in N~~w4County
   Commission Expires on ~ iA---: ?,0'1-5f

                LAURA ANN MULLER
          Notary Public • Stat.- of New York
                 NO. 01MU624141.2
            Qualified In Richmond County
         My Commission Expires Aug 1.7, 20~
